UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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BLAKE LIVELY,                                                          :
                                                                       :
                                    Plaintiff,                         :   24-cv-10049 (lead case);
                                                                       :   25-cv-449 (member case)
                  -v-                                                  :
                                                                       :   MEMORANDUM AND
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :       ORDER
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, JENNIFER ABEL, JED WALLACE, :
STREET RELATIONS, INC.,                                                :
                                                                       :
                                    Defendants.                        :
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WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, IT ENDS WITH US MOVIE LLC,                                :
MELISSA NATHAN, and JENNIFER ABEL,                                     :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                        -v-                                            :
                                                                       :
BLAKE LIVELY, RYAN REYNOLDS, LESLIE                                    :
SLOANE, VISION PR, INC., THE NEW YORK TIMES :
COMPANY,                                                               :
                                                                       :
                                    Defendants.                        :
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LEWIS J. LIMAN, United States District Judge:

        Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, It Ends With Us

Movie LLC, Melissa Nathan, The Agency Group PR LLC, and Jennifer Abel (collectively, the

“Wayfarer Parties”) move to quash subpoenas issued to cellular providers AT&T, Verizon, and

T-Mobile (the “Subpoenas”) by Blake Lively (“Lively”). Dkt. Nos. 75, 93. For the reasons that

follow, the motion is granted in part and denied in part.
          Lively served the Subpoenas on or around February 12, 2025. See Dkt. Nos. 76–78. The

Subpoenas requested “[a]ll documents concerning ingoing and outgoing calls or text messages

related to” telephone numbers belonging to certain Wayfarer Parties and related individuals,

“within the time period of December 1, 2022 to the present, 1 including but not limited to call

logs, text logs, data logs, and cell site location information.” See id. The telephone numbers of

the Wayfarer Parties and related individuals are identified in the Subpoenas, but the destination

telephone numbers are not. On February 14, 2025, the Wayfarer Parties moved to quash the

Subpoenas as overly broad and invasive. Dkt. No. 75. The Court ordered the parties to meet and

confer and to report back to the Court whether any dispute remained by February 24, 2025. Dkt.

No. 85.

          After the parties met and conferred, Lively agreed to remove the reference to “[a]ll

documents,” remove the request for locational data, and clarify that the Subpoenas seek only

“call logs and text logs reflecting non-content, numerical information regarding ingoing and

outgoing text messages.” Dkt. No. 95; see also Dkt. No. 93. Lively has prepared modified

subpoenas reflecting these changes. Dkt. No. 95.

          However, by letter of February 24, 2025, the Wayfarer Parties reiterated their request to

quash the Subpoenas. Dkt. No. 93. The Wayfarer Parties object to the fact that even as

modified, the Subpoenas continue to cover call and text logs revealing “the phone numbers for

anyone with whom the Wayfarer Parties” and other individuals communicated, regardless of

whether such communication was related to the claims and defenses in this case. Dkt. No. 93.

The Wayfarer Parties therefore seek to have the Subpoenas limited to communications between




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 For certain individuals, the time period is only July 1, 2024 to the present. See Dkt. No. 76 at
15; Dkt. No. 78 at 15.


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the subpoenaed phone numbers and other specific phone numbers of parties and witnesses that

Lively would provide. Id. Lively argues that the purpose of the Subpoenas is to lead to

admissible evidence regarding “communications not only among the defendants, but among the

larger network of individuals who perpetuated the ‘untraceable’ campaign against Ms. Lively,”

which justifies their broad scope. Dkt. No. 95. Lively also argues that the Wayfarer Parties lack

standing to assert the privacy interests of nonparties. Id.; see also Dkt. No. 82 at 3.

       Rule 26(b)(1) of the Federal Rules of Civil Procedure provides that “[p]arties may obtain

discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case, considering . . . whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b). When the party moving

to quash a subpoena is a non-recipient asserting a privacy interest, the Court must “weigh[] the

relevance or probative value of the documents being sought against the privacy interests . . .

asserted.” Universitas Educ., LLC v. Nova Group, Inc., 2013 WL 57892, at *5 (S.D.N.Y. Jan. 4,

2013) (quoting Solow v. Conseco, Inc., 2008 WL 190340, at *4 (S.D.N.Y. Jan. 18, 2008)); see

Silverstone Holding Grp., LLC v. Zhongtie Dacheng (Zhuhai) Inv. Mgmt. Co., 650 F. Supp. 3d

199, 202–03 (S.D.N.Y. 2023). “[T]he burden of persuasion in a motion to quash a subpoena

issued in the course of civil litigation is borne by the movant.” Concord Boat Corp. v.

Brunswick Corp., 169 F.R.D. 44, 48 (S.D.N.Y. 1996).

       The Subpoenas of the Wayfarer Parties’ phone records, even as modified after the meet

and confer, are overly intrusive and disproportionate to the needs of the case. The Subpoenas

request call and text logs between certain of the Wayfarer Parties and any other phone number,

in most cases from December 1, 2022, to the present. See Dkt. Nos. 76–78. This request

implicates legitimate privacy interests. Even though Lively has narrowed her request to exclude




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the content of calls or messages, the phone records themselves would still contain sensitive

information regarding which doctors, psychologists, or even acquaintances the Wayfarer Parties

spoke to, and when. See Syposs v. United States, 181 F.R.D. 224, 226–28 (W.D.N.Y. 1998)

(recognizing privacy interest in phone records); Sovereign Partners Ltd. P’ship v. Rest. Teams

Int’l, Inc., 1999 WL 993678, at *4 (S.D.N.Y. Nov. 2, 1999) (same); Morano v. Slattery Skanska,

Inc., 846 N.Y.S.2d 881, 885–86 (N.Y. Sup. Ct. 2007) (same). 2 Lively has identified no means

to segregate those numbers that may have some relevance to her case from those numbers that

would have no relevance and would reveal sensitive personal information.

       Lively mainly argues that the Subpoenas will help to identify “the larger network of

individuals” who perpetuated a negative media campaign against her. Dkt. No. 95. But

according to Lively’s complaint, this negative campaign did not begin until approximately

August 2024. See Dkt. No. 84 ¶¶ 23–26, 28 (describing actions taken in early August 2024 as



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  Lively notes that an individual has no legitimate privacy interest under the Fourth Amendment
in numbers dialed on a phone. See Smith v. Maryland, 442 U.S. 735, 742 (1979). However, this
does not prevent the Wayfarer Parties from having a privacy interest in their phone records. A
privacy interest which is not protected by the Fourth Amendment may nevertheless exist
pursuant to a state or federal statute or the common law. See Syposs, 181 F.R.D. at 227
(distinguishing the Fourth Amendment protections applicable to criminal investigations from the
“less stringent thresholds” applicable to civil discovery); Mintz v. Mark Bartelstein & Assocs.,
Inc., 885 F. Supp. 2d 987, 995–99 (C.D. Cal. 2012) (noting that state law governs the assertion
of a privacy interest in diversity cases, and finding a privacy interest in phone records under
California law); cf. Fed. R. Evid. 501 (providing that in a diversity case, the assertion of a
privilege is governed by state law). Notably, although bank records are also not protected by the
Fourth Amendment, see United States v. Miller, 425 U.S. 435, 442 (1976), bank records are the
paradigmatic example of information for which a privacy interest confers standing to object to a
subpoena, see Silverstone Holding Grp., LLC v. Zhongtie Dacheng (Zhuhai) Inv. Mgmt. Co., 650
F. Supp. 3d 199, 202 (S.D.N.Y. 2023) (“Courts in this Circuit have found that individuals whose
banking records are subpoenaed have a privacy interest in their personal financial affairs that
gives them standing to move to quash a subpoena served on a non-party financial institution.”
(alterations and quotation marks omitted)); Solow, 2008 WL 190340, at *3 (collecting cases);
Syposs, 181 F.R.D. at 227. Similarly here, the Wayfarer Parties have an privacy interest in their
communications with non-parties, even though this interest is not protected by the Fourth
Amendment.


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“the beginning” of the plan to destroy Lively’s reputation). It is therefore unclear how

communications to and from Wayfarer Parties in 2022 and 2023 would reveal individuals who

participated in the campaign. More generally, Lively has not provided a basis to believe that the

broad discovery she seeks will reveal information regarding unknown participants in the negative

media campaign proportionate to the burden on the Wayfarer Parties’ privacy interests. See

Gilead Scis., Inc. v. Khaim, 2024 WL 4675191, at *7 (E.D.N.Y. Nov. 5, 2024). Lively’s

complaint already identifies many individuals who allegedly participated in a negative media

campaign. See id. ¶¶ 193–278. Lively may make discovery requests tailored to those

individuals. She is permitted to use the tools of discovery to identify the contact information or

telephone numbers for those individuals. Even assuming additional individuals participated in

the alleged campaign, the hope that discovery will turn up information on such participants does

not justify the broad scope of the Subpoenas. See Walsh v. Top Notch Home Designs Corp.,

2022 WL 3300190, at *6 (E.D.N.Y. Aug. 11, 2022); N'Diaye v. Metro. Life Ins. Co., 2018 WL

2316335, at *7 (S.D.N.Y. May 8, 2018); Tottenham v. Trans World Gaming Corp., 2002 WL

1967023, at *2 (S.D.N.Y. June 21, 2002). 3

       The Subpoenas must be quashed to the extent they seek the phone records of the

Wayfarer Parties. This ruling is without prejudice to the Lively parties’ service of modified

subpoenas more narrowly tailored to reveal relevant information.

       However, the Wayfarer Parties have not demonstrated standing to object to the Subpoena

requests seeking the phone records of non-parties. “[A] party demonstrates standing to challenge



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  Lively has also suggested that the phone records may speak to “when and how the defendants
and witnesses learned about Ms. Lively’s harassment allegations.” Dkt. No. 82 at 3. What type
of information Lively seeks to discover in this regard, and how it is relevant to her claims, has
not been further explained. The ruling here is without prejudice to Lively’s use of subpoenas
targeted to reveal the particular information relevant to her claims of harassment and retaliation.


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a subpoena directed to a non-party by showing that he or she seeks to protect a personal

privilege, right, or interest.” United States v. Bergstein, 302 F. Supp. 3d 580, 584 (S.D.N.Y.

2018); see Arthur R. Miller, 9A Fed. Prac. & Proc. Civ. (Wright & Miller) § 2459 (3d ed. 2024).

The Wayfarer Parties may assert a privacy interest in their own phone records, but they have not

provided any basis for asserting an interest in the communications of non-parties. See US Bank

Nat. Ass’n v. PHL Variable Ins. Co., 2012 WL 5395249, at *2 (S.D.N.Y. Nov. 5, 2012) (“PHL

has no proprietary interest in the internal communications of the nonparties.”). Therefore, the

Wayfarer Parties’ motion is denied as to the portions of the Subpoenas which seek the phone

records of non-parties.

       The motion to quash is GRANTED IN PART and DENIED IN PART.

       SO ORDERED.

Dated: February 28, 2025                            __________________________________
       New York, New York                                      LEWIS J. LIMAN
                                                           United States District Judge




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